               Case 2:21-mj-30021-DUTY ECF No. 1, PageID.1
                                            AUSA:            Filed 01/14/21 Telephone:
                                                    Rosemary Gardey           Page 1 of   6 226-9100
                                                                                       (313)
AO 91 (Rev. 11/11) Criminal Complaint            Task Force Officer:     Angela Bunch                  Telephone: (313) 202-3450

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan
United States of America                                          Case: 2:21−mj−30021
   v.
                                                                  Assigned To : Unassigned
Aaron Perry Williams
                                                                  Assign. Date : 1/14/2021
                                                                  CMP: USA v WILLIAMS (MAW)




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

    On or about the date(s) of                   December 12, 2020                 in the county of ____W_a_yn..__e___ in the
  Eastern
-------         District of                Michigan       , the defendant(s) violated:
                Code Section                                            Offense Description
18 U.S.C. § 922(g)(l)                                 Felon in possession of a firearm




          This criminal complaint is based on these facts:




IZil   Continued on the attached sheet.
                                                                                           Complainant's signature

                                                                       Task Force Agent Angela Bunch, A.T.F.
                                                                                            Printed name and title
Sworn to before me and signed in my presence
and/or by reliable electronic means.
   January 14, 2021
       XXXXXXXXX
Date: January   13, 2021                                                                      Judge's signature

City and state: Detroit, Michigan                                      Hon.Elizabeth A. Stafford, U.S. Magistrate Judge
                                                                                            Printed name and title
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     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

     I, Angela Bunch, being sworn, depose and state the following:

                            I. INTRODUCTION

     1.    I am a member of the Detroit Police Department and have

been for twenty-two years. Since 2013, I have been assigned to the

Firearms Investigative Team with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”). I became a Task Force Officer with the

ATF in May of 2014. I have a Bachelors of Applied Science. I have been

involved in numerous investigations related to violations of federal

firearm and narcotic laws.

     2.    The information outlined below is provided for the limited

purpose of establishing probable cause and does not contain all the

information known to law enforcement related to this investigation.

     3.    I am currently investigating Aaron Perry WILLIAMS, date of

birth xx/xx/1983, for being a felon in possession of a firearm, in violation

of 18 U.S.C. § 922(g)(1).

     4.    I reviewed a computer printout of WILLIAMS’ criminal

history (“CCH”). WILLIAMS has the following convictions:
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           a.      2005 - felony – controlled substance - possess; Third

                   Circuit Court – Wayne County.

           b.      2007 - felony – weapons – possession by felon; Third

                   Circuit Court – Wayne County.

           c.      2017 – felony – controlled substance – deliver /

                   manufacture marijuana / synthetic equivalents; Third

                   Circuit Court – Wayne County.

           d.      2020 – felony – controlled substance – deliver /

                   manufacture cocaine, heroin, or another narcotic; 16th

                   Circuit Court – Macomb County.



             II.   SUMMARY OF THE INVESTIGATION

     5.    On December 12, 2020, at approximately 3:30 p.m., Detroit

police officers were dispatched to Linnhurst and Gratiot, in the city of

Detroit, to respond to a call for a person with a weapon at the dollar store.

The caller described a black male wearing a black and gray “football”

jacket whom he observed walking out of the store, armed with a gun, and

near a tan Chevrolet Malibu.




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     6.    Officers arrived at the intersection of Linnhurst and Gratiot

and observed that a dollar store does not exist at that intersection.

Officers then responded to the closest dollar store to that location which

was Dollar Daze located two streets south at 13881 Gratiot.

     7.    Upon arriving to the location in the Dollar Daze parking lot,

officers observed the described tan Malibu, unoccupied. The officers went

inside the store. They observed an individual, later identified as Aaron

Perry WILLIAMS, matching the description given by the 911 caller; a

black male wearing a black and gray “football” jacket.

     8.    Officers approached WILLIAMS who was standing by the

check-out counter. When they approached him, WILLIAMS grabbed a

long board that was leaning against the counter, and held it against his

body, and appeared to be attempting to conceal something. One of the

officers asked him to place the board down, and asked him if he had any

weapons on him. WILLIAMS did not answer the question, but asked the

officers why they were there.

     9.    During the conversation, WILLIAMS eventually moved the

board. It was at this time that the officers could see what appeared to be

a handgun bulge in WILLIAMS’ chest area. He was detained, and a pat-


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down produced a handgun from the inside of his jacket in the upper left

chest area.

     10.      The officers recovered a Glock, .22 caliber, model 44,

semiautomatic handgun loaded with one live round in the chamber and

a magazine with nine live rounds.

     11.      Officers asked WILLIAMS if he had a Concealed Pistol

License (CPL) to which he responded that he did not. A search of the Law

Enforcement Information Network confirmed that WILLIAMS did not

have a CPL.

     12.      WILLIAMS was arrested for carrying a concealed weapon and

transported to the Detroit Detention Center. Prior to transporting, a

search incident to arrest resulted in the recovery of brass knuckles, and

a pocket knife from his other jacket pocket.

     13.      I contacted ATF Special Agent Joshua McLean, an expert in

the Interstate Nexus of firearms. Agent McLean stated that the firearm,

based on the description provided, without physically examining it, was

manufactured outside the State of Michigan and therefore traveled in

and affected interstate commerce.




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                         III.   CONCLUSION

     14.   Probable cause exists that Aaron Perry WILLIAMS, a

convicted felon, did knowingly and intentionally possess a firearm, which

traveled in and affected interstate commerce, in violation of Title 18

U.S.C. § 922(g)(1).




                             Task Force Officer Angela R. Bunch
                             Bureau of Alcohol, Tobacco, Firearms and
                             Explosives


Sworn to before me and signed in my
presence and/or by reliable electronic means.


__________________________________________
HON. ELIZABETH A. STAFFORD
UNITED STATES MAGISTRATE JUDGE




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